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11
                        UNITED STATES DISTRICT COURT
12
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                            WESTERN DIVISION

14    UNITED STATES OF AMERICA,             Case No. CV 22-4950-SVW
15              Plaintiff,
                                            DECLARATION OF SPECIAL AGENT
16                   v.
                                            GEFFREY CLARK
17    REAL PROPERTY LOCATED IN LOS          [EXHIBITS UNDER SEAL]
18    ANGELES CALIFORNIA

19               Defendant.

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                           DECLARATION OF GEFFREY CLARK
         I, Geffrey Cark, hereby declare and-state as follows:
         I have personal knowledge of the following facts and, if
   called as a witness, would testify thereto under oath.
         1.   I am a Special Agent with the Internal Revenue Service

   - Criminal Investigations and was a case agent for the
   prosecution of United States v. Ayvazyan, 20-cr-579-SVW.
         2.   ~ased on my conversations·with other investigating
   agents, I am aware that on or about November 5, 2020, a search
   warrant was executed at the real property that is the defendant
   in this action (the "Weddington Property"). One room of the

   Weddington Property was identified as a home office and
   contained a large number of documents in separate fo.1ders, many

   of which appeared to contain personally-identifying information
   of unrelated persons (the "Weddington Office")
         3.   Attached as Exhibit 5 is a true and correct copy of a
   compilation of documents recovered from folders found in the

   Weddington Office.
         4.   Attached as Exhibit 6 is a true and correct copy of a
   compilation of documents produced by claimant JP Morgan Chase
   Bank in this action.
         5.   Attached as Exhibit 7 is a true and correct copy of a


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         6.




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         I declare under penalty of perjury that the foregoing is

   true and-correct.
        Executed on November 2, 2022 in Los Angeles, California.


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                                     GEFFREi LARK, SA IRS-CI
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